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                          EXHIBIT A
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         CtAIMANT OR QAJMANJ"S ATTORNEY (N"""' and Addre55):             TEUPHONE
                        notlu of c:hange of •ddress                      NO.: NA

         Cynthia Moya, Guardian ad Litem
     1
I        c/o: PMB PO BOX 1537
     2   Corrales, New Mexico a Non-Military
         zone and without the United States
     3
         A sui juris claimant                                                               Judge John F Davis
     4   NAME OF COURT:
         13th Judicial District Court
     5   Sandoval County
         1500 Idalia Road, Building A
     6
         Bernalillo OF THE REPUBLIC OF NEW MEXICO                                              m    --'·
                                                                                                     <:":
                                                                                                      .
                                                                                                               r-.:i


     7   Plaintiff: Cynthia Moya, Guardian A.L.
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                                                                                                                       :::x::J   h=
                                                                                                    -1         >       c5
     8   Vs.                                                                                        :c-~       ::z     --;       '--
                                                                                                    r-             I   (""")     ~-=.::
                                                                                                    ~]         U1      0 s:
     9   Defendant(s): 3316 22nd Ave SE, Rio Rancho, New Mexico,                                    i:;:::;·           c:: --<
                                                                                                               ::t>    ::0 1::=:+
           Sandoval County, et al; APN: 1-013-067-081-112, et al,                                   ~--                --l
                                                                                                    }:_:...    ::3:              =+:1
                                                                                                               --..
                                                                                                                       (""")
    10     INCLUDING ALL APPURTENANCES AND IMPROVEMENTS                                             r.=-..:;
                                                                                                                                 cs
                                                                                                                       ~
                                                                                                    ...
                                                                                                      l, ~,

                                                                                                                                 ;n
           THERETO; Lot 28 in Block 21 of Rio Rancho Estates, Unit 16,                              c::>
                                                                                                    :;c        w
    11     a Subdivision in the City of Rio Rancho, New Mexico, as the                              t.': )     a
           same is shown and designated on the plat of said
    12
           Subdivision, filed in the Office of the County Clerk of
    13     Sandoval County, New Mexico, on December 5, 1961, in Rio
           Rancho Estates Plat Book 1, Folio 1, INCLUDING ALL
    14     APPURTENANCES AND IMPROVEMENTS THERETO and Land
           Patent for which was recorded in the General Land office at
    15
           the District of Columbia, on July 29, 1920, signed by
    16     Woodrow Wilson, President, Patent #764682; DEED OF
           TRUST #78809, et al, Select Portfolio Servicing LLC. et al,
    17     Wells Fargo Bank, N.A. as Trustee f/b/o holders of
           Structured Asset Mortgage Investments II Trust 2007-AR4,
    18     Mortgage Pass-Through Certificates, Series 2007-AR4, et al,
           INCLUDING ALL APPURTENANCES AND IMPROVEMENTS
    19
           THERETO ..., et al. ..
    20

    21

    22

    23           PRESENTMENT IN FOR ADVERSE CLAIM OF POSSESSION                     CASE NUMBER;


    24
         1.    MY POSITION
         2.    THE PARTIES
    25   3.    MY RIGHT OF CLAIM
                                                                                    An AFFIDAVIT:
    26

    27

    28


                                                               -   1 -
                                    CLAIM FOR ADVERSE POSSESSION, AFFIRMATIVE RELIEF IN REM
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